 Fill in this information to identify the case:
B 10 (Supplement 2) (12/11)              (post publication draft)
 Debtor 1              Gary Bruce Meyerson
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         Western
 United States Bankruptcy Court for the: ______________________             Washington
                                                                District of __________
                                                                                                         (State)
 Case number            16-12553-TWD
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                                         10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                  U.S. BANK TRUST NATIONAL ASSOCIATION, AS TRUSTEE OF THE BUNGALOW SERIES III TRUST                      Court claim no. (if known):
 Name of creditor:                ______________________________________                                                                 8-1
                                                                                                                                         _________________
                                                                                                                      0
                                                                                                                      ____  3 ____
                                                                                                                           ____ 3 ____
                                                                                                                                   1
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                1747 HARDING ST
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  ENUMCLAW                  WA 98022-2722
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

  q     Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

  q     Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date                                        $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

  q     Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:                                           06    01 2020
                                                                                                              ____/_____/______
                                                                                                              MM / DD    / YYYY

  q     Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                                                  (a)   $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                                         +   (b)   $ __________

        c. Total. Add lines a and b.                                                                                                                 (c)   $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became                                           ____/_____/______
        due on:                                                                                               MM / DD / YYYY


Form 4100R                                                                Response to Notice of Final Cure Payment                                              page 1


             Case 16-12553-TWD                                Doc              Filed 05/13/20                         Ent. 05/13/20 11:20:12    Pg. 1 of 3
Debtor 1        Gary Bruce Meyerson
                _______________________________________________________                         Case number          16-12553-TWD
                                                                                                              (if known) _____________________________________
                First Name      Middle Name              Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
  n all payments received;
  n all fees, costs, escrow, and expenses assessed to the mortgage; and
  n all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

  q      I am the creditor.
  q      I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               û /s/ Nancy Tragarz
                   __________________________________________________
                   Signature
                                                                                                Date    05 13       2020
                                                                                                        ____/_____/________




 Print             _________________________________________________________                    Title   Authorized Agent for Secured Creditor
                                                                                                        ___________________________________
                   First Name                      Middle Name         Last Name




 Company           Ghidotti | Berger LLP
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           1920 Old Tustin Ave.
                   _________________________________________________________
                   Number                 Street


                   Santa Ana                   CA               92705
                   ___________________________________________________
                   City                                                State       ZIP Code




 Contact phone      949
                   (______) 427 _________
                            _____– 2010                                                               bknotifications@ghidottiberger.com
                                                                                                Email ________________________




Form 4100R                                                       Response to Notice of Final Cure Payment                                            page 2


            Case 16-12553-TWD                           Doc          Filed 05/13/20           Ent. 05/13/20 11:20:12                  Pg. 2 of 3
                                                             the Court’s ECF




DEBTOR
Gary Bruce Meyerson
1747 Harding St
Enumclaw, WA 98022




 Case 16-12553-TWD    Doc   Filed 05/13/20   Ent. 05/13/20 11:20:12   Pg. 3 of 3
